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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - -x
UNITED STATES OF AMERICA,          :

                  Plaintiff,              :

            - v. -                        :

POKERSTARS; FULL TILT POKER;       :            NOTICE OF WAIVER OF
ABSOLUTE POKER; ULTIMATE BET;                   SERVICE FOR
OLDFORD GROUP LTD.; RATIONAL       :            ABSOLUTE POKER COMPANIES
ENTERTAINMENT ENTERPRISES LTD.;
PYR SOFTWARE LTD.; STELEKRAM LTD.; :
SPHENE INTERNATIONAL LTD.;                      11 Civ. 2564 (LBS)
TILTWARE LLC; KOLYMA CORPORATION   :
A.V.V.; POCKET KINGS LTD.; POCKET
KINGS CONSULTING LTD.; FILCO LTD.; :
VANTAGE LTD.; RANSTON LTD.; MAIL
MEDIA LTD.; FULL TILT POKER LTD.; :
SGS SYSTEMS INC.; TRUST SERVICES
LTD; FIDUCIA EXCHANGE LTD.; BLUE   :
WATER SERVICES LTD.; ABSOLUTE
ENTERTAINMENT, S.A.; and BLANCA    :
GAMES, INC. OF ANTIGUA;
                                   :
               Defendants;
                                   :
ALL RIGHT, TITLE AND INTEREST IN
THE ASSETS OF POKERSTARS; FULL     :
TILT POKER; ABSOLUTE POKER;
ULTIMATE BET; OLDFORD GROUP LTD.; :
RATIONAL ENTERTAINMENT ENTERPRISES
LTD.; PYR SOFTWARE LTD.; STELEKRAM :
LTD.; SPHENE INTERNATIONAL LTD.;
TILTWARE LLC; KOLYMA CORPORATION   :
A.V.V.; POCKET KINGS LTD.; POCKET
KINGS CONSULTING LTD.; FILCO LTD.; :
VANTAGE LTD.; RANSTON LTD.; MAIL
MEDIA LTD.; FULL TILT POKER LTD.; :
SGS SYSTEMS INC.; TRUST SERVICES
LTD; FIDUCIA EXCHANGE LTD.; BLUE   :
WATER SERVICES LTD.; ABSOLUTE
ENTERTAINMENT, S.A.; and BLANCA    :
GAMES, INC. OF ANTIGUA; INCLUDING
BUT NOT LIMITED TO THE PROPERTIES :
LISTED IN SCHEDULE A, SUCH AS BUT
NOT LIMITED TO THE DOMAIN NAMES    :
POKERSTARS.COM; FULLTILTPOKER.COM;
ABSOLUTEPOKER.COM;                 :
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ULTIMATEBET.COM; and UB.COM; and           :
ALL RIGHT, TITLE, AND INTEREST IN
THE PROPERTIES LISTED IN SCHEDULE          :
B;
                                   :
               Defendants-in-rem.
- - - - - - - - - - - - - - - - - -x


     NOTICE OF WAIVER OF SERVICE FOR ABSOLUTE POKER COMPANIES

            The United States, by and through counsel, hereby

provides notice to the Court and files the attached Waiver of

Service for the following in personam defendants in the above-

captioned matter:

      Absolute Poker,
      Ultimate Bet,
      SGS Systems Inc.,
      Trust Services Ltd,
      Fiducia Exchange Ltd.,
      Blue Water Services Ltd.,
      Absolute Entertainment, S.A., and
      Blanca Games, Inc. of Antigua.

            By Stipulation and Order dated June 29, 2011, the date

by which these parties must answer or otherwise respond to the

Complaint is September 30, 2011.          See Docket Entry 27.

            Respectfully submitted this 10th day of August, 2011

                                    PREET BHARARA
                                    United States Attorney
                                    Southern District of New York


                              By:        /S/
                                    MICHAEL D. LOCKARD
                                    JASON H. COWLEY
                                    Assistant United States Attorney
                                    (212) 637-2193/2479



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                      EXHIBIT 4B
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - -x
UNITED STATES OF AMERICA,          :

                  Plaintiff,               :

            - v. -                         :

POKERSTARS; FULL TILT POKER;       :             NOTICE OF WAIVER OF
ABSOLUTE POKER; ULTIMATE BET;                    SERVICE FOR
OLDFORD GROUP LTD.; RATIONAL       :             FULL TILT COMPANIES
ENTERTAINMENT ENTERPRISES LTD.;
PYR SOFTWARE LTD.; STELEKRAM LTD.; :
SPHENE INTERNATIONAL LTD.;                       11 Civ. 2564 (LBS)
TILTWARE LLC; KOLYMA CORPORATION   :
A.V.V.; POCKET KINGS LTD.; POCKET
KINGS CONSULTING LTD.; FILCO LTD.; :
VANTAGE LTD.; RANSTON LTD.; MAIL
MEDIA LTD.; FULL TILT POKER LTD.; :
SGS SYSTEMS INC.; TRUST SERVICES
LTD; FIDUCIA EXCHANGE LTD.; BLUE   :
WATER SERVICES LTD.; ABSOLUTE
ENTERTAINMENT, S.A.; and BLANCA    :
GAMES, INC. OF ANTIGUA;
                                   :
               Defendants;
                                   :
ALL RIGHT, TITLE AND INTEREST IN
THE ASSETS OF POKERSTARS; FULL     :
TILT POKER; ABSOLUTE POKER;
ULTIMATE BET; OLDFORD GROUP LTD.; :
RATIONAL ENTERTAINMENT ENTERPRISES
LTD.; PYR SOFTWARE LTD.; STELEKRAM :
LTD.; SPHENE INTERNATIONAL LTD.;
TILTWARE LLC; KOLYMA CORPORATION   :
A.V.V.; POCKET KINGS LTD.; POCKET
KINGS CONSULTING LTD.; FILCO LTD.; :
VANTAGE LTD.; RANSTON LTD.; MAIL
MEDIA LTD.; FULL TILT POKER LTD.; :
SGS SYSTEMS INC.; TRUST SERVICES
LTD; FIDUCIA EXCHANGE LTD.; BLUE   :
WATER SERVICES LTD.; ABSOLUTE
ENTERTAINMENT, S.A.; and BLANCA    :
GAMES, INC. OF ANTIGUA; INCLUDING
BUT NOT LIMITED TO THE PROPERTIES :
LISTED IN SCHEDULE A, SUCH AS BUT
NOT LIMITED TO THE DOMAIN NAMES    :
POKERSTARS.COM; FULLTILTPOKER.COM;
ABSOLUTEPOKER.COM;                 :
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ULTIMATEBET.COM; and UB.COM; and           :
ALL RIGHT, TITLE, AND INTEREST IN
THE PROPERTIES LISTED IN SCHEDULE          :
B;
                                   :
               Defendants-in-rem.
- - - - - - - - - - - - - - - - - -x

        NOTICE OF WAIVER OF SERVICE FOR FULL TILT COMPANIES

            The United States, by and through counsel, hereby

provides notice to the Court and files the attached Waiver of

Service for the following in personam defendants in the above-

captioned matter:

      Tiltware LLC,
      Kolyma Corporation A.V.V.,
      Pocket Kings Ltd.,
      Pocket Kings Consulting Ltd.,
      Filco Ltd.,
      Vantage Ltd.,
      Ranston Ltd., and
      Mail Media Ltd.,
      d/b/a Full Tilt Poker and Full Tilt Poker Ltd.

            By Stipulation and Order dated June 29, 2011, the date

by which these parties must answer or otherwise respond to the

Complaint is September 30, 2011.           See Docket Entry 26.

            Respectfully submitted this 10th day of August, 2011

                                    PREET BHARARA
                                    United States Attorney
                                    Southern District of New York


                              By:        /S/
                                    MICHAEL D. LOCKARD
                                    JASON H. COWLEY
                                    Assistant United States Attorney
                                    (212) 637-2193/2479



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                     EXHIBIT 4C
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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 - - - - - - - - - - - - - - - - - -x
 UNITED STATES OF AMERICA,          :

                   Plaintiff,               :

             - v. -                         :

 POKERSTARS; FULL TILT POKER;       :             NOTICE OF WAIVER OF
 ABSOLUTE POKER; ULTIMATE BET;                    SERVICE FOR
 OLDFORD GROUP LTD.; RATIONAL       :             POKERSTARS COMPANIES
 ENTERTAINMENT ENTERPRISES LTD.;
 PYR SOFTWARE LTD.; STELEKRAM LTD.; :
 SPHENE INTERNATIONAL LTD.;                       11 Civ. 2564 (LBS)
 TILTWARE LLC; KOLYMA CORPORATION   :
 A.V.V.; POCKET KINGS LTD.; POCKET
 KINGS CONSULTING LTD.; FILCO LTD.; :
 VANTAGE LTD.; RANSTON LTD.; MAIL
 MEDIA LTD.; FULL TILT POKER LTD.; :
 SGS SYSTEMS INC.; TRUST SERVICES
 LTD; FIDUCIA EXCHANGE LTD.; BLUE   :
 WATER SERVICES LTD.; ABSOLUTE
 ENTERTAINMENT, S.A.; and BLANCA    :
 GAMES, INC. OF ANTIGUA;
                                    :
                Defendants;
                                    :
 ALL RIGHT, TITLE AND INTEREST IN
 THE ASSETS OF POKERSTARS; FULL     :
 TILT POKER; ABSOLUTE POKER;
 ULTIMATE BET; OLDFORD GROUP LTD.; :
 RATIONAL ENTERTAINMENT ENTERPRISES
 LTD.; PYR SOFTWARE LTD.; STELEKRAM :
 LTD.; SPHENE INTERNATIONAL LTD.;
 TILTWARE LLC; KOLYMA CORPORATION   :
 A.V.V.; POCKET KINGS LTD.; POCKET
 KINGS CONSULTING LTD.; FILCO LTD.; :
 VANTAGE LTD.; RANSTON LTD.; MAIL
 MEDIA LTD.; FULL TILT POKER LTD.; :
 SGS SYSTEMS INC.; TRUST SERVICES
 LTD; FIDUCIA EXCHANGE LTD.; BLUE   :
 WATER SERVICES LTD.; ABSOLUTE
 ENTERTAINMENT, S.A.; and BLANCA    :
 GAMES, INC. OF ANTIGUA; INCLUDING
 BUT NOT LIMITED TO THE PROPERTIES :
 LISTED IN SCHEDULE A, SUCH AS BUT
 NOT LIMITED TO THE DOMAIN NAMES    :
 POKERSTARS.COM; FULLTILTPOKER.COM;
 ABSOLUTEPOKER.COM;                 :
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 ULTIMATEBET.COM; and UB.COM; and           :
 ALL RIGHT, TITLE, AND INTEREST IN
 THE PROPERTIES LISTED IN SCHEDULE          :
 B;
                                    :
                Defendants-in-rem.
 - - - - - - - - - - - - - - - - - -x

        NOTICE OF WAIVER OF SERVICE FOR POKERSTARS COMPANIES

             The United States, by and through counsel, hereby

 provides notice to the Court and files the attached Waivers of

 Service for the following in personam defendants in the above-

 captioned matter:

       Oldford Group Ltd.
       Rational Entertainment Enterprises Ltd.
       Stelekram Ltd.
       Sphene International Ltd.
       PYR Software Ltd.
       (d/b/a/ PokerStars)

             Because the Notice of Lawsuit and Request to Waive

 Service of a Summons was sent to these defendants outside of the

 United States on June 28, 2011, these defendants have until

 September 26, 2011 to answer or otherwise respond to the

 Complaint.    See Fed. R. Civ. Pro. 4(d)(3).

             Respectfully submitted this 11th day of August, 2011

                                     PREET BHARARA
                                     United States Attorney
                                     Southern District of New York


                               By:        /S/
                                     MICHAEL D. LOCKARD
                                     JASON H. COWLEY
                                     Assistant United States Attorney
                                     (212) 637-2193/2479


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